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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    FORT LAUDERDALE DIVISION

                                    CASE NO. ___________________

  NORMA REYNES,

            Plaintiff,

  v.

  PARADISE CRUISE LINE OPERATOR, LTD., INC.
  D/B/A BAHAMAS PARADISE CRUISE LINE;
  BPCL MANAGEMENT, LLC D/B/A BAHAMAS
  PARADISE CRUISE LINE; CRUISE OPERATOR,
  INC. D/B/A BAHAMAS PARADISE CRUISE LINE,

        Defendants.
  __________________________________________ /

                          COMPLAINT AND DEMAND FOR JURY TRIAL

            Plaintiff, NORMA REYNES (“Plaintiff”), by and through her undersigned counsel, hereby

  files her Complaint and Demand for Jury Trial and sues Defendants, PARADISE CRUISE LINE

  OPERATOR, LTD., INC. D/B/A BAHAMAS PARADISE CRUISE LINE; BPCL

  MANAGEMENT, LLC D/B/A BAHAMAS PARADISE CRUISE LINE; CRUISE OPERATOR,

  INC. D/B/A BAHAMAS PARADISE CRUISE LINE (“Defendants”), and alleges the following:

                                      JURISDICTION AND VENUE

  1.        This action seeks damages in excess of seventy-five thousand dollars ($75,000.00) and is

            within the jurisdictional limits of this Court.

  2.        This matter arises out of a maritime and admiralty claim and is controlled by the federal

            general maritime law of the United States. 28 U.S.C. § 1333.

  3.        Plaintiff also asserts all claims arising and relating to Florida state law under the Savings



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            to Suitors Clause of 28 U.S.C. § 1333(1).

  4.        This is an action for negligence arising from an injury that occurred on the cruise ship M/V

            GRAND CELEBRATION, a vessel which was and is owned, managed, controlled, and

            operated by Defendants, PARADISE CRUISE LINE OPERATOR, LTD., INC. D/B/A

            BAHAMAS PARADISE CRUISE LINE; BPCL MANAGEMENT, LLC D/B/A

            BAHAMAS PARADISE CRUISE LINE; and CRUISE OPERATOR, INC. D/B/A

            BAHAMAS PARADISE CRUISE LINE.

  5.        Venue is proper in this Court, pursuant to the passenger ticket issued by Defendant(s) that

            contains a venue selection clause requiring all disputes arising out of and in connection

            with the subject cruise be litigated in the United States District Court for the Southern

            District of Florida, Fort Lauderdale Division.

  6.        At all material times, Plaintiff, NORMA REYNES, was and is a citizen and resident of the

            United States, and at all material times was and is sui juris.

  7.        At all material times, Defendant, PARADISE CRUISE LINE OPERATOR, LTD., INC.

            D/B/A BAHAMAS PARADISE CRUISE LINE, was and is a business entity and common

            carrier engaged in the passenger cruise business with its principal place of business in

            Florida and a registered agent located at CT Corporation System, 1200 S. Pine Island Road,

            Plantation, Florida 33324.

  8.        This Court has personal jurisdiction over PARADISE CRUISE LINE OPERATOR, LTD.,

            INC. D/B/A BAHAMAS PARADISE CRUISE LINE because Defendant has, at all times

            relevant to this cause of action, through its agents, officers, distributors, and/or

            representatives:

            a. Held its principal place of business in Deerfield Beach, Broward County, Florida;


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            b. Operated, conducted, engaged in, and/or carried on a business venture in Florida and

               has an office in Florida;

            c. Operated cruise ships that arrive and depart from ports in the State of Florida;

            d. Used, possessed, or held a mortgage or other lien on real property within Florida;

            e. Engaged in substantial and not isolated activities within Florida by maintaining stores,

               offices, employees, distributors, and/or registered agents in Florida, selling products in

               Florida, advertising products in Florida, and/or entering into contracts in Florida; and,

            f. Pursuant to its ticket contract, Defendant submits itself to the jurisdiction of this Court.

  9.        At all material times, Defendant, CRUISE OPERATOR, INC. D/B/A BAHAMAS

            PARADISE CRUISE LINE, was and is a business entity and common carrier engaged in

            the passenger cruise business with its principal place of business in Florida and a registered

            agent located at 100 W. Cypress Creek Road, Suite 640, Fort Lauderdale, Florida 33309.

  10.       This Court has personal jurisdiction over CRUISE OPERATOR, INC. D/B/A BAHAMAS

            PARADISE CRUISE LINE because Defendant has, at all times relevant to this cause of

            action, through its agents, officers, distributors, and/or representatives:

            a. Held its principal place of business in Broward County, Florida;

            b. Operated, conducted, engaged in, and/or carried on a business venture in Florida and

               has an office in Florida;

            c. Operated cruise ships that arrive and depart from ports in the State of Florida;

            d. Used, possessed, or held a mortgage or other lien on real property within Florida;

            e. Engaged in substantial and not isolated activities within Florida by maintaining stores,

               offices, employees, distributors, and/or registered agents in Florida, selling products in

               Florida, advertising products in Florida, and/or entering into contracts in Florida; and,


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         f. Pursuant to its ticket contract, Defendant submits itself to the jurisdiction of this Court.

  11.    At all material times, Defendant, BPCL MANAGEMENT, LLC D/B/A BAHAMAS

         PARADISE CRUISE LINE, was and is a business entity and common carrier engaged in

         the passenger cruise business with its principal place of business in Florida and a registered

         agent located at 100 W. Cypress Creek Road, Suite 640, Fort Lauderdale, Florida 33309.

  12.    This Court has personal jurisdiction over BPCL MANAGEMENT, LLC D/B/A

         BAHAMAS PARADISE CRUISE LINE because Defendant has, at all times relevant to

         this cause of action, through its agents, officers, distributors, and/or representatives:

         a. Held its principal place of business in Broward County, Florida;

         b. Operated, conducted, engaged in, and/or carried on a business venture in Florida and

            has an office in Florida;

         c. Operated cruise ships that arrive and depart from ports in the State of Florida;

         d. Used, possessed, or held a mortgage or other lien on real property within Florida;

         e. Engaged in substantial and not isolated activities within Florida by maintaining stores,

            offices, employees, distributors, and/or registered agents in Florida, selling products in

            Florida, advertising products in Florida, and/or entering into contracts in Florida; and,

         f. Pursuant to its ticket contract, Defendant submits itself to the jurisdiction of this Court.

                                    FACTUAL ALLEGATIONS

  13.    On or about August 3, 2019, the Plaintiff, NORMA REYNES, was lawfully and properly

         a fare-paying passenger and business invitee on board the Defendant’s ship, the M/V

         GRAND CELEBRATION.

  14.    On August 3, 2019, Plaintiff was walking across the marble floor outside of the casino of

         the ship, when she slipped and fell on her back, sustaining severe injuries including


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         fractured vertebrae.

  15.    The marble floor was unreasonably slippery at the time Plaintiff slipped and fell, and upon

         information and belief, the floor may have been wet with water, grease, food, or another

         transitory substance.

  16.    The floor was unreasonably slippery because it had an inadequate coefficient of friction

         (“COF”) for the safety of Defendant’s passengers, including Plaintiff.

  17.    There were no warning signs, cones, barriers, or crew members in the area to warn Plaintiff

         of the dangerously wet and/or unreasonably slippery marble floor.

  18.    As a result of this traumatic fall, Plaintiff sustained severe and permanent injuries,

         including but not limited to fractured vertebrae and severe excruciating pain.

  19.    The marble floor outside of the casino on the M/V GRAND CELEBRATION is a high-traffic

         area, and leads to a dining area onboard the vessel.

  20.    It is foreseeable that people onboard the vessel walking through this area may spill drinks

         or food, which would cause dangerous conditions to exist and may cause injury to others.

  21.    The wet and dangerously slippery floor had existed for a sufficient amount of time that

         Defendant should have taken corrective measures to remedy the dangerous conditions or

         to warn passengers.

  22.    There were crewmembers observed working in and around the area, who should have taken

         steps to warn passengers, including Plaintiff, of the danger, or taken steps to remedy the

         wet and unreasonably slippery floor.

  23.    Upon information and belief, several other passengers and crew have slipped and fallen on

         this marble floor prior to Plaintiff’s incident.

  24.    Defendant had knowledge that the marble floor was unreasonably slippery, yet failed to


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         properly maintain the floor so that it had an adequate COF and failed to remedy the danger.

  25.    Similar floors across the M/V GRAND CELEBRATION have been carpeted due to their

         slipperiness and the danger to passengers.

    COUNT I – NEGLIGENCE BY PARADISE CRUISE LINE OPERATOR LTD., INC.

         Plaintiff realleges and hereby incorporates paragraphs 1 through 25, and further alleges:

  26.    At all times material hereto, the Defendant, PARADISE CRUISE LINE OPERATOR

         LTD., INC. D/B/A BAHAMAS PARADISE CRUISE LINE, owed a duty to Plaintiff to

         use reasonable care under the circumstances in maintaining the premises of the M/V

         GRAND CELEBRATION in a reasonably safe condition and operating the vessel in a

         reasonably safe manner.

  27.    Defendant also had a duty to warn Plaintiff of any dangerous conditions onboard the vessel

         of which Defendant knew or should have known.

  28.    Defendant knew or should have known of the dangerous and unsafe conditions of the wet

         and/or unreasonably slippery marble floor outside of the casino, and knew that passengers

         and business invitees are expected to frequently traverse the area with food and beverages,

         and Defendant failed to take reasonable steps to correct the hazards or to warn Plaintiff of

         the hazards.

  29.    Defendant knew, or in the exercise of reasonable care should have known, that its

         passengers and business invitees, including Plaintiff, would encounter the unsafe wet

         and/or slippery marble floor in the normal course of their usage of the vessel’s facilities,

         especially dining facilities. Defendant, therefore, had a duty to warn of any dangerous

         conditions said invitees would encounter during normal usage. Samuelov v. Carnival

         Cruise Lines, Inc., 870 So. 2d 853, 856 (Fla. 3d DCA 2003) (property owner has a duty to


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         warn of dangerous conditions that the owner has reason to believe its business invitees will

         encounter regardless of open and obvious nature of the condition).

  30.    Defendant breached its duty owed to Plaintiff by committing one or more of the following

         acts and/or omissions, and/or was negligent in the operation, maintenance, and control of

         the M/V GRAND CELEBRATION in the following respects:

                a. Failing to exercise reasonable care for the safety of its passengers, including

                    Plaintiff;

                b. Creating and/or negligently designing an unreasonably slippery marble floor,

                    which Defendant knows is a high-traffic area that connects passengers to a

                    casino and dining;

                c. Failing to provide a reasonably safe floor surface for use by its passengers, that

                    is reasonably designed for the safety of its passengers, including but not limited

                    to utilizing a floor surface that Defendant knows does not contain an adequate

                    COF on its marble floor surface;

                d. Failing to properly inspect and/or maintain the marble floor in a reasonably safe

                    condition for use by its passengers, including Plaintiff;

                e. Failing to place carpet and/or mats on the floor surface, as Defendant had done

                    in other areas of the ship;

                f. Failing to properly inspect and clean the floor prior to the incident;

                g. Failing to warn passengers, including Plaintiff, of the dangerous and

                    unreasonably slippery floor surface that Defendant knew its passengers would

                    encounter;

                h. Failing to take corrective measures within a reasonable amount of time upon


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                    noticing the dangerous condition;

                i. Allowing a dangerous condition to exist notwithstanding prior incidents

                    involving similar slip and falls on the same or similar flooring surface(s) on

                    Defendants’ vessel(s); and

                j. Other acts of fault and negligence that will be proven at trial.

  31.    The dangerous conditions alleged above existed for a sufficient amount of time that

         Defendant knew or should have known of the danger and should have taken corrective

         measures to remedy the dangerous conditions in a timely manner. Defendant was on actual

         or constructive notice of the presence of said dangerous conditions.

  32.    Defendant was also on constructive notice of the unsafe condition in that it chose an unsafe

         design of the area in question, including a design with inadequate COF that caused a

         slipping hazard for passengers, which it knew or should have known would inevitably

         happen in the normal course of usage. Said negligent selection and design make Defendant

         liable for actually creating the unreasonably dangerous condition.

  33.    Defendant, at all times material hereto, had a non-delegable duty as a ship owner to comply

         with the International Safety Management (ISM) Code, which requires vessel operators to

         establish safeguards against identified risks aboard vessels, such as slipping hazards.

  34.    Upon information and belief, and based on the unreasonably dangerous condition of the

         marble floor, several passengers had slipped and fallen prior to the incident involving

         Plaintiff, or experienced “near misses” on the same or similar flooring surface, and

         Defendant and/or its crew members were well aware of this information.

  35.    Due to its negligence, Defendant directly and proximately caused injuries and damages to

         Plaintiff, which are continuing and permanent in nature, as follows:


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                 a. Plaintiff sustained and will continue to suffer bodily injuries and mental pain

                     and suffering, disability, disfigurement, physical impairment, inconvenience,

                     loss of capacity for the enjoyment of life, lost wages, and diminished earning

                     capacity;

                 b. Plaintiff has incurred medical, hospital, nursing, therapy, and pharmaceutical

                     expenses and will continue to incur such expenses as long as her condition

                     continues; and

                 c. Plaintiff may suffer aggravation of a pre-existing condition.

  36.    All conditions precedent to filing this lawsuit have been complied with or waived.

         WHEREFORE, Plaintiff, NORMA REYNES, demands judgment for damages against

  the Defendant, PARADISE CRUISE LINE OPERATOR, LTD., INC. D/B/A BAHAMAS

  PARADISE CRUISE LINE, costs, interest, attorneys’ fees, and demands a trial by jury, and such

  other and further relief as the Court deems just and proper, both in law and in equity.

                 COUNT II – NEGLIGENCE BY CRUISE OPERATOR, INC.

         Plaintiff realleges and hereby incorporates paragraphs 1 through 25, and further alleges:

  37.    At all times material hereto, the Defendant, CRUISE OPERATOR, INC. D/B/A

         BAHAMAS PARADISE CRUISE LINE, owed a duty to Plaintiff to use reasonable care

         under the circumstances in maintaining the premises of the M/V GRAND CELEBRATION

         in a reasonably safe condition and operating the vessel in a reasonably safe manner.

  38.    Defendant also had a duty to warn Plaintiff of any dangerous conditions onboard the vessel

         of which Defendant knew or should have known.

  39.    Defendant knew or should have known of the dangerous and unsafe conditions of the wet

         and/or unreasonably slippery marble floor outside of the casino, and knew that passengers


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          and business invitees are expected to frequently traverse the area with food and beverages,

          and Defendant failed to take reasonable steps to correct the hazards or to warn Plaintiff of

          the hazards.

  40.     Defendant knew, or in the exercise of reasonable care should have known, that its

          passengers and business invitees, including Plaintiff, would encounter the unsafe wet

          and/or slippery marble floor in the normal course of their usage of the vessel’s facilities,

          especially dining facilities. Defendant, therefore, had a duty to warn of any dangerous

          conditions said invitees would encounter during normal usage. Samuelov v. Carnival

          Cruise Lines, Inc., 870 So. 2d 853, 856 (Fla. 3d DCA 2003) (property owner has a duty to

          warn of dangerous conditions that the owner has reason to believe its business invitees will

          encounter regardless of open and obvious nature of the condition).

  41.     Defendant breached its duty owed to Plaintiff by committing one or more of the following

          acts and/or omissions, and/or was negligent in the operation, maintenance, and control of

          the M/V GRAND CELEBRATION in the following respects:

                 k. Failing to exercise reasonable care for the safety of its passengers, including

                     Plaintiff;

                 l. Creating and/or negligently designing an unreasonably slippery marble floor,

                     which Defendant knows is a high-traffic area that connects passengers to a

                     casino and dining;

                 m. Failing to provide a reasonably safe floor surface for use by its passengers, that

                     is reasonably designed for the safety of its passengers, including but not limited

                     to utilizing a floor surface that Defendant knows does not contain an adequate

                     COF on its marble floor surface;


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                 n. Failing to properly inspect and/or maintain the marble floor in a reasonably safe

                     condition for use by its passengers, including Plaintiff;

                 o. Failing to place carpet and/or mats on the floor surface, as Defendant had done

                     in other areas of the ship;

                 p. Failing to properly inspect and clean the floor prior to the incident;

                 q. Failing to warn passengers, including Plaintiff, of the dangerous and

                     unreasonably slippery floor surface that Defendant knew its passengers would

                     encounter;

                 r. Failing to take corrective measures within a reasonable amount of time upon

                     noticing the dangerous condition;

                 s. Allowing a dangerous condition to exist notwithstanding prior incidents

                     involving similar slip and falls on the same or similar flooring surface(s) on

                     Defendants’ vessel(s); and

                 t. Other acts of fault and negligence that will be proven at trial.

  42.     The dangerous conditions alleged above existed for a sufficient amount of time that

          Defendant knew or should have known of the danger and should have taken corrective

          measures to remedy the dangerous conditions in a timely manner. Defendant was on actual

          or constructive notice of the presence of said dangerous conditions.

  43.     Defendant was also on constructive notice of the unsafe condition in that it chose an unsafe

          design of the area in question, including a design with inadequate COF that caused a

          slipping hazard for passengers, which it knew or should have known would inevitably

          happen in the normal course of usage. Said negligent selection and design make Defendant

          liable for actually creating the unreasonably dangerous condition.


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  44.     Defendant, at all times material hereto, had a non-delegable duty as a ship owner to comply

          with the International Safety Management (ISM) Code, which requires vessel operators to

          establish safeguards against identified risks aboard vessels, such as slipping hazards.

  45.     Upon information and belief, and based on the unreasonably dangerous condition of the

          marble floor, several passengers had slipped and fallen prior to the incident involving

          Plaintiff, or experienced “near misses” on the same or similar flooring surface, and

          Defendant and/or its crew members were well aware of this information.

  46.     Due to its negligence, Defendant directly and proximately caused injuries and damages to

          Plaintiff, which are continuing and permanent in nature, as follows:

                 d. Plaintiff sustained and will continue to suffer bodily injuries and mental pain

                     and suffering, disability, disfigurement, physical impairment, inconvenience,

                     loss of capacity for the enjoyment of life, lost wages, and diminished earning

                     capacity;

                 e. Plaintiff has incurred medical, hospital, nursing, therapy, and pharmaceutical

                     expenses and will continue to incur such expenses as long as her condition

                     continues; and

                 f. Plaintiff may suffer aggravation of a pre-existing condition.

  47.     All conditions precedent to filing this lawsuit have been complied with or waived.

          WHEREFORE, Plaintiff, NORMA REYNES, demands judgment for damages against

  the Defendant, CRUISE OPERATOR, INC. D/B/A BAHAMAS PARADISE CRUISE LINE,

  costs, interest, attorneys’ fees, and demands a trial by jury, and such other and further relief as the

  Court deems just and proper, both in law and in equity.




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                COUNT III – NEGLIGENCE BY BPCL MANAGEMENT, LLC

          Plaintiff realleges and hereby incorporates paragraphs 1 through 25, and further alleges:

  48.     At all times material hereto, the Defendant, BPCL MANAGEMENT, LLC D/B/A

          BAHAMAS PARADISE CRUISE LINE, owed a duty to Plaintiff to use reasonable care

          under the circumstances in maintaining the premises of the M/V GRAND CELEBRATION

          in a reasonably safe condition and operating the vessel in a reasonably safe manner.

  49.     Defendant also had a duty to warn Plaintiff of any dangerous conditions onboard the vessel

          of which Defendant knew or should have known.

  50.     Defendant knew or should have known of the dangerous and unsafe conditions of the wet

          and/or unreasonably slippery marble floor outside of the casino, and knew that passengers

          and business invitees are expected to frequently traverse the area with food and beverages,

          and Defendant failed to take reasonable steps to correct the hazards or to warn Plaintiff of

          the hazards.

  51.     Defendant knew, or in the exercise of reasonable care should have known, that its

          passengers and business invitees, including Plaintiff, would encounter the unsafe wet

          and/or slippery marble floor in the normal course of their usage of the vessel’s facilities,

          especially dining facilities. Defendant, therefore, had a duty to warn of any dangerous

          conditions said invitees would encounter during normal usage. Samuelov v. Carnival

          Cruise Lines, Inc., 870 So. 2d 853, 856 (Fla. 3d DCA 2003) (property owner has a duty to

          warn of dangerous conditions that the owner has reason to believe its business invitees will

          encounter regardless of open and obvious nature of the condition).

  52.     Defendant breached its duty owed to Plaintiff by committing one or more of the following

          acts and/or omissions, and/or was negligent in the operation, maintenance, and control of


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          the M/V GRAND CELEBRATION in the following respects:

                 u. Failing to exercise reasonable care for the safety of its passengers, including

                     Plaintiff;

                 v. Creating and/or negligently designing an unreasonably slippery marble floor,

                     which Defendant knows is a high-traffic area that connects passengers to a

                     casino and dining;

                 w. Failing to provide a reasonably safe floor surface for use by its passengers, that

                     is reasonably designed for the safety of its passengers, including but not limited

                     to utilizing a floor surface that Defendant knows does not contain an adequate

                     COF on its marble floor surface;

                 x. Failing to properly inspect and/or maintain the marble floor in a reasonably safe

                     condition for use by its passengers, including Plaintiff;

                 y. Failing to place carpet and/or mats on the floor surface, as Defendant had done

                     in other areas of the ship;

                 z. Failing to properly inspect and clean the floor prior to the incident;

                 aa. Failing to warn passengers, including Plaintiff, of the dangerous and

                     unreasonably slippery floor surface that Defendant knew its passengers would

                     encounter;

                 bb. Failing to take corrective measures within a reasonable amount of time upon

                     noticing the dangerous condition;

                 cc. Allowing a dangerous condition to exist notwithstanding prior incidents

                     involving similar slip and falls on the same or similar flooring surface(s) on

                     Defendants’ vessel(s); and


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                 dd. Other acts of fault and negligence that will be proven at trial.

  53.     The dangerous conditions alleged above existed for a sufficient amount of time that

          Defendant knew or should have known of the danger and should have taken corrective

          measures to remedy the dangerous conditions in a timely manner. Defendant was on actual

          or constructive notice of the presence of said dangerous conditions.

  54.     Defendant was also on constructive notice of the unsafe condition in that it chose an unsafe

          design of the area in question, including a design with inadequate COF that caused a

          slipping hazard for passengers, which it knew or should have known would inevitably

          happen in the normal course of usage. Said negligent selection and design make Defendant

          liable for actually creating the unreasonably dangerous condition.

  55.     Defendant, at all times material hereto, had a non-delegable duty as a ship owner to comply

          with the International Safety Management (ISM) Code, which requires vessel operators to

          establish safeguards against identified risks aboard vessels, such as slipping hazards.

  56.     Upon information and belief, and based on the unreasonably dangerous condition of the

          marble floor, several passengers had slipped and fallen prior to the incident involving

          Plaintiff, or experienced “near misses” on the same or similar flooring surface, and

          Defendant and/or its crew members were well aware of this information.

  57.     Due to its negligence, Defendant directly and proximately caused injuries and damages to

          Plaintiff, which are continuing and permanent in nature, as follows:

                 g. Plaintiff sustained and will continue to suffer bodily injuries and mental pain

                     and suffering, disability, disfigurement, physical impairment, inconvenience,

                     loss of capacity for the enjoyment of life, lost wages, and diminished earning

                     capacity;


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                 h. Plaintiff has incurred medical, hospital, nursing, therapy, and pharmaceutical

                     expenses and will continue to incur such expenses as long as her condition

                     continues; and

                 i. Plaintiff may suffer aggravation of a pre-existing condition.

  58.     All conditions precedent to filing this lawsuit have been complied with or waived.

          WHEREFORE, Plaintiff, NORMA REYNES, demands judgment for damages against

  the Defendant, BPCL MANAGEMENT, LLC D/B/A BAHAMAS PARADISE CRUISE LINE,

  costs, interest, attorneys’ fees, and demands a trial by jury, and such other and further relief as the

  Court deems just and proper, both in law and in equity.

                                    DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a trial by jury as to all issues so triable as a matter of law.

                                                         Respectfully submitted,
                                                         BILLERA LAW, PLLC
                                                         Attorneys for Plaintiff
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